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 7   WALMART INC.
 8

 9                            UNITED STATES DISTRICT COURT
10                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12
     JOHN CASAS,                                Case No.: 5:23-cv-02076-SSS-SP
13

14                      Plaintiff,              STIPULATED PROTECTIVE
                                                ORDER
15
           vs.
16

17                                              Complaint Filed: July 19, 2023
     WALMART INC., a Delaware
                                                Trial Date:      April 14, 2025
18   corporation; and DOES 1 through 50,
     inclusive,
19

20                      Defendants.
21

22

23
     1.    INTRODUCTION

24         1.1    PURPOSES AND LIMITATIONS
25
           Discovery in this action may involve production of confidential, proprietary,
26

27   or private information for which special protection from public disclosure and from

28   use for any purpose other than prosecuting this litigation may be warranted.
                                              1
                                 STIPULATED PROTECTIVE ORDER
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 1
     Accordingly, the Parties hereby stipulate to and petition the Court to enter the

 2   following Stipulated Protective Order. The Parties acknowledge that this Order does
 3
     not confer blanket protections on all disclosures or responses to discovery and that
 4

 5   the protection it affords from public disclosure and use extends only to the limited

 6   information or items that are entitled to confidential treatment under the applicable
 7
     legal principles. The Parties further acknowledge, as set forth in Section 12.3 below,
 8

 9   that this Order does not entitle them to file Confidential Information under seal;

10   Civil Local Rule 79-5 sets forth the procedures that must be followed and the
11
     standards that will be applied when a Party seeks permission from the Court to file
12

13   material under seal.

14         1.2    GOOD CAUSE STATEMENT
15
           Good cause exists for the entry of this Order. This action is likely to involve
16

17   internal policies and procedures, customer and employees’ personal information and
18   personnel file, medical records, health information, and other valuable research,
19
     development, commercial, financial, technical and/or proprietary information
20

21   for which special protection from public disclosure and from use for any purpose
22   other than prosecution of this action is warranted. Such confidential and proprietary
23
     materials and information consist of, among other things, confidential employees’
24

25   information and personnel files, health and medical records, internal work policies
26   and procedures, confidential business practices, or other confidential research,
27
     development, or commercial information (including information implicating privacy
28
                                              2
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 1
     rights of third parties), information otherwise generally unavailable to the public, or

 2   which may be privileged or otherwise protected from disclosure under state or
 3
     federal statutes, court rules, case decisions, or common law. Accordingly, to
 4

 5   expedite the flow of information, to facilitate the prompt resolution of disputes over

 6   confidentiality of discovery materials, to adequately protect information the parties
 7
     are entitled to keep confidential, to ensure that the parties are permitted reasonable
 8

 9   necessary uses of such material in preparation for and in the conduct of trial, to

10   address their handling at the end of the litigation, and serve the ends of justice, a
11
     protective order for such information is justified in this matter. It is the intent of the
12

13   parties that information will not be designated as confidential for tactical reasons and

14   that nothing be so designated without a good faith belief that it has been maintained
15
     in a confidential, non-public manner, and there is good cause why it should not be
16

17   part of the public record of this case.
18   2.    DEFINITIONS
19
           2.1    Action: John Casas v. Walmart Inc., et al., Case No.: 5:23-cv-02076-
20

21   SSS-SP.
22         2.2    Challenging Party: a Party or Nonparty that challenges the designation
23
     of information or items under this Order.
24

25         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
26   how it is generated, stored, or maintained) or tangible things that qualify for
27

28
                                               3
                                  STIPULATED PROTECTIVE ORDER
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 1
     protection under Federal Rule of Civil Procedure 26(c) and as specified above in the

 2   Good Cause Statement.
 3
           2.4    Counsel: Outside Counsel of Record (as well as their support staff),
 4

 5   and attorneys at Wilshire Law Firm, PLC.

 6         2.5    Designating Party: a Party or Nonparty that designates information or
 7
     items that it produces in disclosures or in responses to discovery as
 8

 9   “CONFIDENTIAL.”

10         2.6    Disclosure or Discovery Material: all items or information, regardless
11
     of the medium or manner in which it is generated, stored, or maintained (including,
12

13   among other things, testimony, transcripts, and tangible things), that are produced or

14   generated in disclosures or responses to discovery in this matter.
15
           2.7    Expert: a person with specialized knowledge or experience in a matter
16

17   pertinent to the litigation who has been retained by a Party or its counsel to serve as
18   an expert witness or as a consultant in this action.
19
           2.8    House Counsel: attorneys who are employees of a Party to this Action.
20

21   House Counsel does not include Outside Counsel of Record or any other outside
22   counsel.
23
           2.9    Nonparty: any natural person, partnership, corporation, association, or
24

25   other legal entity not named as a Party to this action.
26         2.10 Outside Counsel of Record: attorneys who are not employees of a
27
     Party to this Action but are retained to represent or advise a Party and have appeared
28
                                              4
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 1
     in this Action on behalf of that Party or are affiliated with a law firm that has

 2   appeared on behalf of that Party, including support staff.
 3
           2.11 Party: any Party to this Action, including all of its officers, directors,
 4

 5   employees, consultants, retained experts, and Outside Counsel of Record (and their

 6   support staffs).
 7
           2.12 Producing Party: a Party or Nonparty that produces Disclosure or
 8

 9   Discovery Material in this Action.

10         2.13 Professional Vendors: persons or entities that provide litigation support
11
     services (for example, photocopying, videotaping, translating, preparing exhibits or
12

13   demonstrations, and organizing, storing, or retrieving data in any form or medium)

14   and their employees and subcontractors.
15
           2.14 Protected Material: any Disclosure or Discovery Material that is
16

17   designated as “CONFIDENTIAL.”
18         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
19
     from a Producing Party.
20

21   3.    SCOPE
22         The protections conferred by this Stipulation and Order cover not only
23
     Protected Material (as defined above) but also any information copied or extracted
24

25   from Protected Material; all copies, excerpts, summaries, or compilations of
26   Protected Material; and any testimony, conversations, or presentations by Parties or
27
     their Counsel that might reveal Protected Material.
28
                                              5
                                 STIPULATED PROTECTIVE ORDER
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 1
           Any use of Protected Material at trial will be governed by the orders of the

 2   trial judge. This Order does not govern the use of Protected Material at trial.
 3
     4.    DURATION
 4

 5         Even after final disposition of this litigation, the confidentiality obligations

 6   imposed by this Order will remain in effect until a Designating Party agrees
 7
     otherwise in writing or a court order otherwise directs. Final disposition is the later
 8

 9   of (1) dismissal of all claims and defenses in this Action, with or without prejudice,

10   or (2) final judgment after the completion and exhaustion of all appeals, rehearings,
11
     remands, trials, or reviews of this Action, including the time limits for filing any
12

13   motions or applications for extension of time under applicable law.

14   5.    DESIGNATING PROTECTED MATERIAL
15
           5.1    Each Party or Nonparty that designates information or items for
16

17   protection under this Order must take care to limit any such designation to specific
18   material that qualifies under the appropriate standards. The Designating Party must
19
     designate for protection only those parts of material, documents, items, or oral or
20

21   written communications that qualify so that other portions of the material,
22   documents, items, or communications for which protection is not warranted are not
23
     swept unjustifiably within the ambit of this Order.
24

25         Mass, indiscriminate, or routinized designations are prohibited. Designations
26   that are shown to be clearly unjustified or that have been made for an improper
27
     purpose (for example, to unnecessarily encumber the case-development process or to
28
                                              6
                                 STIPULATED PROTECTIVE ORDER
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 1
     impose unnecessary expenses and burdens on other parties) may expose the

 2   Designating Party to sanctions.
 3
           If it comes to a Designating Party’s attention that information or items it
 4

 5   designated for protection do not qualify for that level of protection, that Designating

 6   Party must promptly notify all other Parties that it is withdrawing the inapplicable
 7
     designation.
 8

 9         5.2      Except as otherwise provided in this Order, Disclosure or Discovery

10   Material that qualifies for protection under this Order must be clearly so designated
11
     before the material is disclosed or produced.
12

13         Designation in conformity with this Order requires the following:

14         (a) for information in documentary form (for example, paper or electronic
15
     documents but excluding transcripts of depositions or other pretrial or trial
16

17   proceedings), the Producing Party must affix at a minimum the legend
18   “CONFIDENTIAL” to each page that contains Protected Material. If only a portion
19
     or portions of the material on a page qualify for protection, the Producing Party must
20

21   clearly identify the protected portion(s) (for example, by making appropriate
22   markings in the margins).
23
           A Party or Nonparty that makes original documents available for inspection
24

25   need not designate them for protection until after the inspecting Party has indicated
26   which documents it would like copied and produced. During the inspection and
27
     before the designation, all material made available for inspection must be treated as
28
                                               7
                                  STIPULATED PROTECTIVE ORDER
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 1
     “CONFIDENTIAL.” After the inspecting Party has identified the documents it

 2   wants copied and produced, the Producing Party must determine which documents,
 3
     or portions thereof, qualify for protection under this Order. Then, before producing
 4

 5   the specified documents, the Producing Party must affix the “CONFIDENTIAL”

 6   legend to each page that contains Protected Material. If only a portion or portions of
 7
     the material on a page qualify for protection, the Producing Party also must clearly
 8

 9   identify the protected portion(s) (for example, by making appropriate markings in

10   the margins).
11
           (b) for testimony given in depositions, the Designating Party must identify
12

13   the Disclosure or Discovery Material that is protected on the record, before the close

14   of the deposition.
15
           (c) for information produced in some form other than documentary and for
16

17   any other tangible items, the Producing Party must affix in a prominent place on the
18   exterior of the container or containers in which the information is stored the legend
19
     “CONFIDENTIAL.” If only a portion or portions of the information warrant
20

21   protection, the Producing Party, to the extent practicable, must identify the protected
22   portion(s).
23
           5.3     If timely corrected, an inadvertent failure to designate qualified
24

25   information or items does not, standing alone, waive the Designating Party’s right to
26   secure protection under this Order for that material. On timely correction of a
27

28
                                               8
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 1
     designation, the Receiving Party must make reasonable efforts to assure that the

 2   material is treated in accordance with the provisions of this Order.
 3
     6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 4

 5         6.1    Any Party or Nonparty may challenge a designation of confidentiality

 6   at any time consistent with the Court’s scheduling order.
 7
           6.2    The Challenging Party must initiate the dispute-resolution process (and,
 8

 9   if necessary, file a discovery motion) under Local Rule 37.

10         6.3    The burden of persuasion in any such proceeding is on the Designating
11
     Party. Frivolous challenges, and those made for an improper purpose (for example,
12

13   to harass or impose unnecessary expenses and burdens on other parties), may expose

14   the Challenging Party to sanctions. Unless the Designating Party has waived or
15
     withdrawn the confidentiality designation, all parties must continue to afford the
16

17   material in question the level of protection to which it is entitled under the Producing
18   Party’s designation until the Court rules on the challenge.
19
     7.    ACCESS TO AND USE OF PROTECTED MATERIAL
20

21         7.1    A Receiving Party may use Protected Material that is disclosed or
22   produced by another Party or by a Nonparty in connection with this Action only for
23
     prosecuting, defending, or attempting to settle this Action. Such Protected Material
24

25   may be disclosed only to the categories of people and under the conditions described
26   in this Order. When the Action has been terminated, a Receiving Party must comply
27
     with the provisions of Section 13 below (FINAL DISPOSITION).
28
                                              9
                                 STIPULATED PROTECTIVE ORDER
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  1
            Protected Material must be stored and maintained by a Receiving Party at a

  2   location and in a manner sufficiently secure to ensure that access is limited to the
  3
      people authorized under this Order.
  4

  5         7.2      Unless otherwise ordered by the Court or permitted in writing by the

  6   Designating Party, a Receiving Party may disclose any information or item
  7
      designated “CONFIDENTIAL” only to the following people:
  8

  9               (a) the Receiving Party’s Outside Counsel of Record in this Action, as

 10   well as employees of that Outside Counsel of Record to whom it is reasonably
 11
      necessary to disclose the information for this Action;
 12

 13               (b) the officers, directors, and employees (including House Counsel) of

 14   the Receiving Party to whom disclosure is reasonably necessary for this Action;
 15
                  (c) Experts (as defined in this Order) of the Receiving Party to whom
 16

 17   disclosure is reasonably necessary for this Action and who have signed the
 18   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 19
                  (d) the Court and its personnel;
 20

 21               (e) court reporters and their staff;
 22               (f) professional jury or trial consultants, mock jurors, and Professional
 23
      Vendors to whom disclosure is reasonably necessary for this Action and who have
 24

 25   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 26               (g) the author or recipient of a document containing the information or a
 27
      custodian or other person who otherwise possessed or knew the information;
 28
                                                 10
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  1
                (h) during their depositions, witnesses and attorneys for witnesses to

  2   whom disclosure is reasonably necessary, provided that the deposing party requests
  3
      that the witness sign the form attached as Exhibit A hereto and the witnesses will not
  4

  5   be permitted to keep any confidential information unless they sign the form, unless

  6   otherwise agreed by the Designating Party or ordered by the Court. Pages of
  7
      transcribed deposition testimony or exhibits to depositions that reveal Protected
  8

  9   Material may be separately bound by the court reporter and may not be disclosed to

 10   anyone except as permitted under this Order; and
 11
                (i) any mediator or settlement officer, and their supporting personnel,
 12

 13   mutually agreed on by any of the Parties engaged in settlement discussions or

 14   appointed by the Court.
 15
      8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
 16

 17   IN OTHER LITIGATION
 18         If a Party is served with a subpoena or a court order issued in other litigation
 19
      that compels disclosure of any information or items designated in this Action as
 20

 21   “CONFIDENTIAL,” that Party must
 22             (a) promptly notify in writing the Designating Party. Such notification
 23
      must include a copy of the subpoena or court order unless prohibited by law;
 24

 25             (b) promptly notify in writing the party who caused the subpoena or order
 26   to issue in the other litigation that some or all of the material covered by the
 27

 28
                                               11
                                  STIPULATED PROTECTIVE ORDER
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  1
      subpoena or order is subject to this Protective Order. Such notification must include

  2   a copy of this Order; and
  3
               (c) cooperate with respect to all reasonable procedures sought to be
  4

  5   pursued by the Designating Party whose Protected Material may be affected.

  6         If the Designating Party timely seeks a protective order, the Party served with
  7
      the subpoena or court order should not produce any information designated in this
  8

  9   action as “CONFIDENTIAL” before a determination on the protective-order request

 10   by the relevant court unless the Party has obtained the Designating Party’s
 11
      permission. The Designating Party bears the burden and expense of seeking
 12

 13   protection of its Confidential Material, and nothing in these provisions should be

 14   construed as authorizing or encouraging a Receiving Party in this Action to disobey
 15
      a lawful directive from another court.
 16

 17   9.    A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
 18   PRODUCED IN THIS LITIGATION
 19
               (a) The terms of this Order are applicable to information produced by a
 20

 21   Nonparty in this Action and designated as “CONFIDENTIAL.” Such information is
 22   protected by the remedies and relief provided by this Order. Nothing in these
 23
      provisions should be construed as prohibiting a Nonparty from seeking additional
 24

 25   protections.
 26            (b) In the event that a Party is required by a valid discovery request to
 27
      produce a Nonparty’s Confidential Information in its possession and the Party is
 28
                                               12
                                  STIPULATED PROTECTIVE ORDER
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  1
      subject to an agreement with the Nonparty not to produce the Nonparty’s

  2   Confidential Information, then the Party must
  3
                   (1) promptly notify in writing the Requesting Party and the Nonparty
  4

  5   that some or all of the information requested is subject to a confidentiality agreement

  6   with a Nonparty;
  7
                   (2) promptly provide the Nonparty with a copy of this Order, the
  8

  9   relevant discovery request(s), and a reasonably specific description of the

 10   information requested; and
 11
                   (3) make the information requested available for inspection by the
 12

 13   Nonparty, if requested.

 14            (c) If the Nonparty fails to seek a protective order within 21 days of
 15
      receiving the notice and accompanying information, the Receiving Party may
 16

 17   produce the Nonparty’s Confidential Information responsive to the discovery
 18   request. If the Nonparty timely seeks a protective order, the Receiving Party must
 19
      not produce any information in its possession or control that is subject to the
 20

 21   confidentiality agreement with the Nonparty before a ruling on the protective-order
 22   request. Absent a court order to the contrary, the Nonparty must bear the burden and
 23
      expense of seeking protection of its Protected Material.
 24

 25   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 26         If a Receiving Party learns that by inadvertence or otherwise, it has disclosed
 27
      Protected Material to any person or in any circumstance not authorized under this
 28
                                                13
                                   STIPULATED PROTECTIVE ORDER
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  1
      Order, the Receiving Party must immediately notify the Designating Party in writing

  2   of the unauthorized disclosures, use its best efforts to retrieve all unauthorized
  3
      copies of the Protected Material, inform the person or people to whom unauthorized
  4

  5   disclosures were made of the terms of this Order, and ask that person or people to

  6   execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto
  7
      as Exhibit A.
  8

  9   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE

 10   PROTECTED MATERIAL
 11
            When a Producing Party gives notice to Receiving Parties that certain
 12

 13   inadvertently produced material is subject to a claim of privilege or other protection,

 14   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 15
      Procedure 26(b)(5)(B).
 16

 17   12.   MISCELLANEOUS
 18         12.1 Nothing in this Order abridges the right of any person to seek its
 19
      modification by the Court.
 20

 21         12.2 By stipulating to the entry of this Order, no Party waives any right it
 22   otherwise would have to object to disclosing or producing any information or item
 23
      on any ground not addressed in this Order. Similarly, no Party waives any right to
 24

 25   object on any ground to use in evidence of any of the material covered by this Order.
 26         12.3 A Party that seeks to file under seal any Protected Material must
 27
      comply with Civil Local Rule 79-5. Protected Material may be filed under seal only
 28
                                                14
                                   STIPULATED PROTECTIVE ORDER
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  1
      pursuant to a court order authorizing the sealing of the specific Protected Material at

  2   issue. If a Party's request to file Protected Material under seal is denied, then the
  3
      Receiving Party may file the information in the public record unless otherwise
  4

  5   instructed by the Court.

  6   13.   FINAL DISPOSITION
  7
            After the final disposition of this Action, as defined in paragraph 4, within 60
  8

  9   days of a written request by the Designating Party, each Receiving Party must return

 10   all Protected Material to the Producing Party or destroy such material. As used in
 11
      this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 12

 13   summaries, and any other format reproducing or capturing any of the Protected

 14   Material. Whether the Protected Material is returned or destroyed, the Receiving
 15
      Party must submit a written certification to the Producing Party (and, if not the same
 16

 17   person or entity, to the Designating Party) by the 60-day deadline that identifies (by
 18   category, when appropriate) all the Protected Material that was returned or destroyed
 19
      and affirms that the Receiving Party has not retained any copies, abstracts,
 20

 21   compilations, summaries, or any other format reproducing or capturing any of the
 22   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
 23
      archival copy of all pleadings; motion papers; trial, deposition, and hearing
 24

 25   transcripts; legal memoranda; correspondence; deposition and trial exhibits; expert
 26   reports; attorney work product; and consultant and expert work product even if such
 27
      materials contain Protected Material. Any such archival copies that contain or
 28
                                               15
                                  STIPULATED PROTECTIVE ORDER
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  1
      constitute Protected Material remain subject to this Order as set forth in Section 4

  2   (DURATION).
  3
      14.   SANCTIONS
  4

  5         Any willful violation of this Order may be punished by civil or criminal

  6   contempt, financial or evidentiary sanctions, reference to disciplinary authorities, or
  7
      other appropriate action at the discretion of the Court.
  8

  9   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 10

 11   DATED: _07/01/24                      WILSHIRE LAW FIRM, PLC

 12

 13

 14                                         By: __________/s/_________________
 15                                             JONATHAN E. MEISLIN
                                                Attorneys for Plaintiff
 16                                            JOHN CASAS
 17

 18

 19

 20
      DATED: July 2, 2024                   Respectfully submitted,
 21
                                            O’HAGAN MEYER
 22

 23

 24

 25                                         By: ________/s/___________________
                                                THEODORE C. PETERS
 26                                             BESSIE A. MAFUD
 27                                             Attorneys for Defendant
                                               WALMART INC.
 28
                                               16
                                  STIPULATED PROTECTIVE ORDER
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  1
      IT IS SO ORDERED

  2

  3   Dated: July 5, 2024

  4                                           _______________________________
  5                                           Hon. Sheri Pym
                                              United States Magistrate Judge
  6

  7

  8

  9

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 28                                   EXHIBIT A
                                           17
                              STIPULATED PROTECTIVE ORDER
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  1
                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

  2

  3            I,                                [print or type full name], of

  4                   [print or type full address], declare under penalty of perjury that I
  5
      have read in its entirety and understand the Stipulated Protective Order that was
  6

  7   issue by the United States District Court for the Central District of California

  8   on_______ in the case of John Casas v. Walmart Inc., et al., Case No.: 5:23-cv-
  9
      02076-SSS-SP. I agree to comply with and to be bound by all the terms of this
 10

 11   Stipulated Protective Order and I understand and acknowledge that failure to so

 12   comply could expose me to sanctions and punishment in the nature of contempt. I
 13
      solemnly promise that I will not disclose in any manner any information or item
 14

 15   that is subject to this Stipulated Protective Order to any person or entity except in

 16   strict compliance with the provisions of this Order.
 17
            I further agree to submit to the jurisdiction of the United States District
 18

 19   Court for the Central District of California for the purpose of enforcing the terms
 20   of this Stipulated Protective Order, even if such enforcement proceedings occur
 21
      after termination of this action. I hereby appoint                                  [print
 22

 23   or type full name] of                                   [print or type full address and
 24   telephone number] as my California agent for service of process in connection with
 25
      this action or any proceedings related to enforcement of this Stipulated Protective
 26

 27   Order.
 28
                                                 18
                                    STIPULATED PROTECTIVE ORDER
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  1
      Date:

  2   City and State where sworn and signed:
  3
      Printed Name:
  4

  5   Signature:

  6

  7

  8

  9

 10

 11

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 28
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                                STIPULATED PROTECTIVE ORDER
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